            Case 1:17-cr-00201-ABJ Document 455 Filed 11/26/18 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                    v.
                                                    Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                   Defendant.


                                     JOINT STATUS REPORT

       The United States of America, by and through Special Counsel Robert S. Mueller, III, and

Paul J. Manafort, Jr., by and through counsel, respectfully submit this joint status report to request,

in light of recent developments, that the Court direct the preparation of a Presentence Investigation

Report and schedule sentencing in this matter, as well as set a schedule for any pre-sentencing

submissions and motions.

       The government reports that:

       1.       On September 14, 2018, one business day before jury selection was scheduled in

this matter, defendant Paul J. Manafort, Jr., pleaded guilty to a superseding information, charging

him with two criminal conspiracy counts that encompassed all the criminal conduct alleged in the

Superseding Indictment in this district. As the Court is aware, that criminal conduct occurred over

a decade, up through April 2018.

       2.       Manafort pleaded pursuant to a plea agreement that required his “fully, truthfully,

completely, and forthrightly” cooperating with the government. Plea Agreement, Doc. 422 ¶ 8;

Plea Hr’g Tr. 39:10-17, 48:11-16, Sept. 14, 2018. The plea agreement provides that if the

defendant fails to fulfill completely “each and every one” of his obligations under this agreement,

or “engages in any criminal activity prior to sentencing,” the defendant will be in breach of the
             Case 1:17-cr-00201-ABJ Document 455 Filed 11/26/18 Page 2 of 3



agreement. A breach relieves the government of any obligations it has under the agreement,

including its agreement to a reduction in the Sentencing Guidelines for acceptance of

responsibility, but leaves intact all the obligations of the defendant as well as his guilty pleas. Plea

Agreement, Doc. 422 ¶¶ 4B, 8, & 13. Plea Agreement, Doc. 422 ¶¶ 7 & 9.

        3.       After signing the plea agreement, Manafort committed federal crimes by lying to

the Federal Bureau of Investigation and the Special Counsel’s Office on a variety of subject

matters, which constitute breaches of the agreement.          The government will file a detailed

sentencing submission to the Probation Department and the Court in advance of sentencing that

sets forth the nature of the defendant’s crimes and lies, including those after signing the plea

agreement herein.

        4.       As the defendant has breached the plea agreement, there is no reason to delay his

sentencing herein.

        The defendant reports that:

        5.       After signing the plea agreement, Manafort met with the government on numerous

occasions and answered the government’s questions. Manafort has provided information to the

government in an effort to live up to his cooperation obligations. He believes he has provided

truthful information and does not agree with the government’s characterization or that he has

breached the agreement. Given the conflict in the parties’ positions, there is no reason to delay

the sentencing herein, and he asks the Court to set a sentencing date in this matter.




                                                   2
         Case 1:17-cr-00201-ABJ Document 455 Filed 11/26/18 Page 3 of 3




Dated: November 26, 2018                             Respectfully submitted,

                                                     ROBERT S. MUELLER, III
                                                     Special Counsel


/s/________________________________                  _/s/ Andrew Weissmann________________
Kevin M. Downing (D.C. Bar No. 1013984)              Andrew Weissmann
Law Office of Kevin M. Downing                       Jeannie S. Rhee (D.D.C. Bar No. 464127)
601 New Jersey Avenue NW, Suite 620                  Greg D. Andres (D.D.C. Bar No. 459221)
Washington, DC 20001                                 Special Counsel’s Office
(202) 754-1992                                       950 Pennsylvania Avenue NW
kevindowning@kdowninglaw.com                         Washington, DC 20530
                                                     Telephone: (202) 616-0800

/s/________________________________                  Attorneys for the United States of America
Thomas E. Zehnle (D.C. Bar No. 415556)
Law Office of Thomas E. Zehnle
601 New Jersey Avenue NW, Suite 620
Washington, DC 20001
(202) 368-4668
tezehnle@gmail.com

/s/________________________________
Richard W. Westling (D.C. Bar No. 990496)
Epstein Becker & Green, P.C.
1227 25th Street, N.W.
Washington, DC 20037
Tel: 202-861-1868
Fax: 202-296-2882
Email: rwestling@ebglaw.com

Attorneys for defendant, Paul J. Manafort, Jr.




                                                 3
